Case 3:24-cv-00477-D        Document 50     Filed 04/25/25     Page 1 of 24     PageID 404



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

MEERA SALAMAH,                                §
                                              §
       Plaintiff,                             §
                                              §
VS.                                           §    Civil Action No. 3:24-CV-0477-D
                                              §
UT SOUTHWESTERN MEDICAL                       §
CENTER, et al.,                               §
                                              §
       Defendants.                            §

                               MEMORANDUM OPINION
                                   AND ORDER

       In this disability discrimination action by former medical student Meera Salamah

(“Salamah”), defendants University of Texas Southwestern Medical Center (“UT

Southwestern”), Angela Mihalic, M.D. (“Dr. Mihalic”), Kevin Klein, M.D. (“Dr. Klein”),

Arlene Sachs, Ph.D. (“Dr. Sachs”), and Andrew Lee, M.D. (“Dr. Lee”) together move to

dismiss under Fed. R. Civ. P. 12(b)(1) for lack of subject matter jurisdiction and under Rule

12(b)(6) for failure to state a claim on which relief can be granted, and to stay discovery.

Salamah opposes the motions. For the reasons that follow, the court grants in part and denies

in part the motion to dismiss, denies as moot the motion to stay discovery, and grants

Salamah leave to replead.

                                              I

       The relevant background facts of this case are largely set out in a prior memorandum

opinion and order and need not be repeated at length for purposes of deciding defendants’

motions. See Salamah v. UT Sw. Health Sys. (“Salamah I”), 2024 WL 4606802, at *1-2
Case 3:24-cv-00477-D        Document 50        Filed 04/25/25      Page 2 of 24     PageID 405



(N.D. Tex. Oct. 29, 2024) (Fitzwater, J.).

       After the court granted defendants’ motion to dismiss Salamah’s first amended

complaint and granted her leave to replead, id. at *6, she filed a second amended complaint.

Her operative second amended complaint asserts a failure-to-accommodate claim against UT

Southwestern under § 504 of the Rehabilitation Act, 29 U.S.C. § 794, et seq. (“Rehabilitation

Act”); a disability discrimination claim against Drs. Mihalic, Klein, Sachs, and Lee, in their

official capacities, under Title II of the Americans With Disabilities Act, 42 U.S.C. § 12131,

et seq. (“Title II”)1; and a retaliation claim against Drs. Mihalic and Sachs, in their individual

capacities, under the Americans With Disabilities Act of 1990, 42 U.S.C. § 12203(b) (“ADA

retaliation”).

       Defendants move to dismiss under Rule 12(b)(1) for lack of subject matter jurisdiction

and under Rule 12(b)(6) for failure to state a claim on which relief can be granted, and to stay

discovery. Salamah opposes the motions, which the court is deciding on the briefs, without

oral argument.

                                                II

       The court begins, as it must, by determining whether it has subject matter jurisdiction.2


       1
        Salamah’s second amended complaint also asserts her Title II claim against various
members of the Student Promotions Committee, in their official capacities. Salamah has
since stipulated to the dismissal of these defendants.
       2
         See In re Canion, 196 F.3d 579, 584 (5th Cir. 1999) (“Federal courts must be assured
of their subject matter jurisdiction at all times.”); Ramming v. United States, 281 F.3d 158,
161 (5th Cir. 2001) (per curiam) (“When a Rule 12(b)(1) motion is filed in conjunction with
other Rule 12 motions, the court should consider the Rule 12(b)(1) jurisdictional attack

                                              -2-
Case 3:24-cv-00477-D        Document 50       Filed 04/25/25      Page 3 of 24     PageID 406



                                               A

       Subject matter jurisdiction is a court’s “statutory or constitutional power to

adjudicate” claims. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 89 (1998) (emphasis

omitted). Because federal courts are “courts of limited subject matter jurisdiction,” Perez v.

McCreary, Veselka, Bragg & Allen, P.C., 45 F.4th 816, 821 (5th Cir. 2022), their power of

adjudication is subject to challenge under Rule 12(b)(1). When contesting subject matter

jurisdiction under Rule 12(b)(1), a party can make a facial attack or a factual attack. See

Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981). When, as here, the party merely

files a Rule 12(b)(1) motion, the attack is facial, and the court looks only at the sufficiency

of the allegations in the complaint and assumes them to be true. Id. “The burden of proof

. . . is on the party asserting jurisdiction.” Ramming v. United States, 281 F.3d 158, 161 (5th

Cir. 2001) (per curiam). If the allegations are sufficient to allege jurisdiction, the court must

deny the motion and entertain the claim. Paterson, 644 F.2d at 523. If the allegations are

insufficient, however, the court must grant the motion and dismiss the claim. Id.

       Defendants maintain that the court lacks subject matter jurisdiction over Salamah’s

Title II claim against Drs. Mihalic, Klein, and Sachs because Salamah lacks Article III

constitutional standing to bring this claim against these defendants, and these defendants are

entitled to Eleventh Amendment sovereign immunity from this claim. To the extent it is

lacking, the court will also address whether it has subject matter jurisdiction over Salamah’s



before addressing any attack on the merits.”).

                                              -3-
Case 3:24-cv-00477-D       Document 50        Filed 04/25/25      Page 4 of 24     PageID 407



Title II claim against Dr. Lee.3

                                               B

       The court turns first to Article III constitutional standing.4

                                               1

       Article III of the United States Constitution confines the jurisdiction of a federal court

to an actual “case[]” or “controvers[y].” U.S. Const. art. III, § 2. The standing doctrine

implements this constitutional limitation by requiring that a plaintiff establish “a personal

stake in the outcome of the controversy as to warrant [her] invocation of federal-court

jurisdiction and to justify exercise of the court’s remedial powers on [her] behalf.” Warth

v. Seldin, 422 U.S. 490, 498 (1975) (internal quotation marks omitted). To establish

constitutional standing, a plaintiff must demonstrate that she “(1) suffered an injury in fact,

(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely

to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338

(2016).



       3
         Although defendants do not challenge the court’s subject matter jurisdiction over
Salamah’s Title II claim against Dr. Lee, the court must ascertain, sua sponte, if necessary,
whether it has subject matter jurisdiction. See Venable v. La. Workers’ Comp. Corp., 740
F.3d 937, 941 (5th Cir. 2013) (“As a court of limited jurisdiction, a federal court must
affirmatively ascertain subject-matter jurisdiction before adjudicating a suit.”). The court
will only discuss such jurisdiction, however, to the extent it is lacking. See Giles v. NYLCare
Health Plans, Inc., 172 F.3d 332, 336 (5th Cir. 1999) (“[A] court sua sponte must raise the
issue if it discovers it lacks subject matter jurisdiction.”).
       4
      The court may address challenges to its subject matter jurisdiction in any order. See
NiGen Biotech, L.L.C. v. Paxton, 804 F.3d 389, 393 (5th Cir. 2015).

                                             -4-
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25     Page 5 of 24     PageID 408



       A plaintiff must establish standing “for each form of relief that is sought.” Reule v.

Jackson, 114 F.4th 360, 367 (5th Cir. 2024) (quoting Town of Chester v. Laroe Ests., Inc.,

581 U.S. 433, 439 (2017)), cert. denied, 2025 WL 889158 (U.S. Mar. 24, 2025). With regard

to her Title II claim against Drs. Mihalic, Klein, and Sachs, Salamah seeks either of two

forms of mandatory relief: (1) an injunction commanding defendants to take the requisite

actions to enable her to continue her medical education at UT Southwestern, or,

alternatively, (2) an injunction commanding defendants to issue a statement that clarifies the

reasons for Salamah’s dismissal so that it does not bar her from continuing her medical

education elsewhere.5

                                              2

       The court considers first whether Salamah has pleaded standing to pursue the first

form of relief for which she prays: an injunction commanding defendants to take the requisite

actions to enable her to continue her medical education at UT Southwestern.

       Defendants maintain that Salamah has not pleaded traceability or redressability

regarding this claim for relief. That is, defendants contend that Salamah has not plausibly


       5
         Although “form of relief sought” more familiarly denotes the “type of relief sought,”
such as injunctive relief or damages, see TransUnion LLC v. Ramirez, 594 U.S. 413, 431
(2021), it also denotes variations of a singular type of relief, such as two injunctions that
command different affirmative acts, see, e.g., Davis v. FEC, 554 U.S. 724, 733-34 (2008)
(explaining that plaintiff’s standing to seek injunction against enforcement of one provision
of a statute did not automatically confer standing to seek injunction against enforcement of
another provision of that statute); City of Los Angeles v. Lyons, 461 U.S. 95, 126 n.19 (1983)
(Marshall, J., dissenting) (criticizing the majority for inquiring into, not only plaintiff’s
“standing to seek injunctive relief as opposed to damages,” but also his standing to seek the
injunction prayed for).

                                            -5-
Case 3:24-cv-00477-D         Document 50        Filed 04/25/25      Page 6 of 24      PageID 409



alleged that the injury that this injunctive relief is calculated to redress is (1) fairly traceable

to the challenged conduct of Drs. Mihalic, Klein, or Sachs, or (2) redressable by issuance of

the requested injunction against them. The court is not persuaded by this position.

       To satisfy traceability, “a plaintiff must establish that there is ‘a causal connection

between the injury and the conduct complained of—the injury must be fairly traceable to the

challenged action of the defendant, and not the result of the independent action of some third

party not before the court.’” Reule, 114 F.4th at 367 (alteration adopted) (quoting Bennett

v. Spear, 520 U.S. 154, 167 (1997)). “To satisfy redressability, a plaintiff must show that it

is likely, as opposed to merely speculative, that the injury will be redressed by a favorable

decision. The relief sought needn’t completely cure the injury, however; it’s enough if the

desired relief would lessen it.” Dobbin Plantersville Water Supply Corp. v. Lake, 108 F.4th

320, 325-26 (5th Cir. 2024) (citations and internal quotation marks omitted).

       The first form of relief for which Salamah prays is calculated to redress her inability

to continue her medical education at UT Southwestern as a result of her allegedly

discriminatory dismissal. Concerning this injury’s traceability to the challenged conduct of

Drs. Mihalic, Klein, and Sachs, and the capability of the requested injunction to redress this

injury, Salamah alleges the following: Dr. Mihalic is “Dean of Medical Students & Associate

Dean of Student Affairs” and “has authority over student academic policies, including

authority to modify academic requirements and reinstate students.” 2d Am. Compl. (ECF

No. 24) ¶ 10.      Dr. Klein is “Chair of the Student Promotions Committee for UT

Southwestern” and “has the authority to recommend the modification of any academic policy

                                               -6-
Case 3:24-cv-00477-D        Document 50       Filed 04/25/25     Page 7 of 24      PageID 410



or to waive certain requirements.” Id. ¶ 12. Dr. Sachs is “Director of Student Academic

Support Services for UT Southwestern” and “has authority over determination with regard

to available accommodations for students with disabilities.” Id. ¶ 11. After Drs. Mihalic and

Sachs “learned of [Salamah’s] failure on the Step 1 examination. . . , they invited her to study

for and retake the examination[.]” Id. ¶ 39. But when Salamah learned that she would need

to be hospitalized due to further complications, she “immediately requested accommodations

from Dr. Mihalic and . . . Dr. Sachs,” id. ¶ 40, who “immediately placed her on

administrative leave, a precursor to dismissal,” id. ¶ 41. “Moreover, during Salamah’s

requests for leave, [Dr. Sachs, with the knowledge of Dr. Mihalic,] moved the targets for

when her Step examination would be required, including advancing deadlines for

completion[.]” Id. ¶ 42. Eventually, “[t]he Student Promotions Committee voted to dismiss

Ms. Salamah” for failing to timely pass the Step Examination. Id. ¶ 13.

       From these allegations, the court can reasonably infer a causal connection between

Salamah’s discriminatory dismissal and consequent inability to continue her medical

education at UT Southwestern and the challenged conduct of Drs. Mihalic, Klein, and Sachs.

Salamah has plausibly alleged that the failure of Drs. Mihalic and Sachs to grant Salamah an

accommodation with respect to the Step Examination led to her dismissal for failing to timely

pass the Step Examination. And Dr. Klein allegedly participated in Salamah’s dismissal by

chairing the committee that voted to dismiss her without exercising his authority to waive,

or recommend the modification of, UT Southwestern’s Step Examination requirement.

       From these allegations, the court can also reasonably infer that it is likely, as opposed

                                             -7-
Case 3:24-cv-00477-D         Document 50      Filed 04/25/25     Page 8 of 24      PageID 411



to merely speculative, that issuance of the requested injunction against Drs. Mihalic, Klein,

or Sachs would redress Salamah’s injury. Salamah has plausibly alleged that Drs. Mihalic,

Klein, and Sachs have the authority to take actions that would enable her to continue her

medical education at UT Southwestern. For example, Drs. Mihalic and Klein are alleged to

possess the authority to modify or waive UT Southwestern’s Step Examination requirement.

And Drs. Mihalic and Sachs allegedly have the authority to grant Salamah an appropriate

accommodation regarding this requirement. Issuance of an injunction commanding Drs.

Mihalic, Klein, or Sachs to take those actions therefore would redress Salamah’s injury of

being unable to continue her medical education at UT Southwestern because of her allegedly

discriminatory dismissal.6



       6
         Defendants appear to contend that enjoining Drs. Mihalic, Klein, and Sachs to
modify, waive, or grant Salamah an accommodation concerning the Step Examination
requirement cannot redress her inability to continue her medical education at UT
Southwestern. This is so, they appear to reason, because any such actions regarding the Step
Examination requirement cannot benefit her unless Dr. Lee overturns the decision of the
Student Promotions Committee to dismiss her. If this is defendants’ position, the court
declines to accept it.
        Defendants fail to consider that the redressability determination pertinent to Salamah’s
Title II claim against Drs. Mihalic, Klein, and Sachs presupposes that Dr. Lee would overturn
the decision of the Student Promotions Committee to dismiss Salamah. This is why: the
redressability determination assumes a favorable decision on Salamah’s Title II claim against
Drs. Mihalic, Klein and Sachs. To presuppose a favorable decision on Salamah’s Title II
claim against Drs. Mihalic, Klein, and Sachs, the court must also assume a favorable decision
on Salamah’s Title II claim against Dr. Lee (because, at least at this stage of the litigation,
the liability of Drs. Mihalic, Klein, Sachs, and Lee for Salamah’s Title II claim appears to
be an all-or-nothing proposition—either all are liable, or none is). And to presuppose a
favorable decision on Salamah’s Title II claim against Dr. Lee is to assume that the court will
command that Dr. Lee overturn the decision of the Student Promotions Committee to dismiss
Salamah.

                                             -8-
Case 3:24-cv-00477-D        Document 50         Filed 04/25/25   Page 9 of 24      PageID 412



       Accordingly, Salamah has pleaded Article III standing to bring her Title II claim

against Drs. Mihalic, Klein, and Sachs to the extent she seeks an injunction commanding

defendants to take the requisite actions to enable her to continue her medical education at UT

Southwestern.

                                                 3

       The court considers next whether Salamah has pleaded standing to pursue the second

form of relief for which she prays: an injunction commanding defendants to issue a statement

that clarifies the reasons for her dismissal.

       Defendants contend that, because Salamah has “alleged no facts showing that she has

any medical school applications pending, or that she is imminently about to apply to other

medical schools,” Ds. Reply (ECF No. 49) at 2, she has not plausibly alleged an injury that

is likely to be redressed by this injunctive relief. The court agrees.

       A plaintiff’s standing to pursue injunctive relief that is calculated to redress a future

injury depends on whether that future injury is imminent, as opposed to merely conjectural.

See City of Los Angeles v. Lyons, 461 U.S. 95, 105 (1983); K.P. v. LeBlanc, 627 F.3d 115,

122 (5th Cir. 2010). In the case of a dismissed medical student seeking injunctive relief that

is calculated to redress her inability to attend medical school elsewhere, the student “is not

required to apply to, and be rejected by, another medical school[.]” Shah v. Univ. of Tex. Sw.

Med. Sch., 129 F.Supp.3d 480, 492 (N.D. Tex. 2015) (Fitzwater, J.), aff’d, 668 Fed. Appx.

88 (5th Cir. Aug. 16, 2016) (per curiam) (adopting “the district court’s opinion in toto”). But

she must allege facts from which the court can reasonably infer that it is imminent, as

                                                -9-
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25      Page 10 of 24      PageID 413



opposed to merely conjectural, that she will apply to other medical schools and be rejected

because of her dismissal. See id.

       Regarding her inability to continue her medical education elsewhere, Salamah alleges

that she “is now fully able to return to her studies, but has been denied the opportunity to

continue at UT Southwestern. Due to her dismissal, she is also effectively precluded from

continuing her studies at another university.” 2d Am. Compl. (ECF No. 24) ¶ 46. Salamah

alleges that, “[a]mong other things, UT Southwestern’s status as ‘dismissed’ precludes her

from continuing her medical education at any institution,” id. ¶ 108; and that “a statement

by the Student Promotions Committee, Dr. Klein, Dean Lee, and/or the other individually

named Defendants which clarifies the reasons for Ms. Salamah’s dismissal would prevent

the dismissal from operating as a complete bar to the continuation of Ms. Salamah’s studies

at another institution.” Id. ¶ 110. The court cannot reasonably infer from these allegations

that it is imminent, as opposed to merely conjectural, that Salamah will apply to other

medical schools and be rejected because of her dismissal. Compare Shah, 129 F.Supp.3d at

492 (citation omitted) (concluding that dismissed medical student plausibly alleged that

inability to continue medical school elsewhere was imminent injury in fact “by pleading that

he is ‘about to start’ applying to other universities, and that, once he does so, defendants will

disclose information regarding his two [Physicianship Evaluation Forms] and dismissal,

resulting in harm to his professional reputation and preventing him from being accepted at

another medical school”).

       Accordingly, Salamah has not pleaded Article III standing to bring her Title II claim

                                             - 10 -
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25      Page 11 of 24      PageID 414



against Drs. Mihalic, Klein, and Sachs to the extent she seeks an injunction commanding

defendants to issue a statement clarifying the reasons for her dismissal.

       The court also raises sua sponte that, for the same reason, Salamah has not pleaded

Article III standing to bring her Title II claim against Dr. Lee to the extent she seeks this

relief.7 The court therefore dismisses this claim for relief without prejudice.8

                                               C

       The court now turns to defendants’ assertion of Eleventh Amendment sovereign

immunity.9

       With limited exceptions, the Eleventh Amendment to the United States Constitution

protects the “sovereign immunity” of the states and their officers against non-consensual

private suits in federal court. See U.S. Const. amend. XI; City of Austin v. Paxton, 943 F.3d


       7
        See supra. n. 3; see also Giannakos v. M/V Bravo Trader, 762 F.2d 1295, 1297 (5th
Cir. 1985) (per curiam) (“United States District Courts . . . have the responsibility to consider
the question of subject matter jurisdiction sua sponte if it is not raised by the parties[.]”);
Ford v. NYLCare Health Plans of Gulf Coast, Inc., 301 F.3d 329, 332 (5th Cir. 2002) (“[W]e
must—where necessary—raise [Article III constitutional standing] sua sponte.”).
       8
       Denning v. Bond Pharmacy, Inc., 50 F.4th 445, 452 (5th Cir. 2022) (“Ordinarily,
when a [claim] is dismissed for lack of jurisdiction, including lack of standing, it should be
without prejudice.”).
       9
         Salamah maintains that Rule 12(g)(2) bars defendants from raising this defense in this
successive Rule 12 motion because it “was available to [defendants] but omitted from its
earlier motion.” P. Resp. (ECF No. 42) at 11. But Rule 12(g)(2) does not apply to the
assertion of sovereign immunity because that defense relates to the court’s subject matter
jurisdiction, which may be challenged at any time. Hoskins v. Kaufman Indep. Sch. Dist.,
2003 WL 22078234, at *1 (N.D. Tex. Sept. 4, 2003) (Fitzwater, J.); see also Edelman v.
Jordan, 415 U.S. 651, 677 (1974) (explaining that Eleventh Amendment sovereign immunity
is jurisdictional); Watson v. Texas, 261 F.3d 436, 440 (5th Cir. 2001) (same).

                                             - 11 -
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25      Page 12 of 24      PageID 415



993, 997 (5th Cir. 2019). One notable exception—the Ex parte Young exception—“allows

private parties to bring ‘suits for injunctive or declaratory relief against individual state

officials acting in violation of federal law.’” City of Austin, 943 F.3d at 997. The Ex parte

Young exception is predicated on the “legal fiction” that “a state official is ‘not the State for

sovereign-immunity purposes’ when ‘a federal court commands [him or her] to do nothing

more than refrain from violating federal law.’” Williams ex rel. J.E. v. Reeves, 954 F.3d 729,

736 (5th Cir. 2020) (quoting Virginia Off. for Prot. & Advoc. v. Stewart, 563 U.S. 247, 255

(2011)). The Ex parte Young exception applies if the complaint (1) seeks relief properly

characterized as prospective (2) for an ongoing violation of federal law (3) against officials

having some connection with the alleged violation. See Tex. All. for Retired Ams. v. Scott,

28 F.4th 669, 672 (5th Cir. 2022); Cantu Servs., Inc. v. Roberie, 535 Fed. Appx. 342, 344-45

(5th Cir. 2013).

       Defendants maintain that Drs. Mihalic, Klein, and Sachs10 are entitled to sovereign

immunity from Salamah’s Title II claim because she has not plausibly alleged that they have

“some connection” with the alleged Title II violation.11 State official defendants have a



       10
         Defendants do not assert that Dr. Lee is entitled to sovereign immunity from
Salamah’s Title II claim. Because Eleventh Amendment sovereign immunity is only quasi-
jurisdictional, the court need not address Dr. Lee’s potential immunity sua sponte. See Wisc.
Dep’t of Corr. v. Schacht, 524 U.S. 381, 389 (1998).
       11
        Defendants also contend that UT Southwestern is entitled to Eleventh Amendment
sovereign immunity from Salamah’s Title II claim. The court need not address this
contention, however, because Salamah does not assert her Title II claim against UT
Southwestern.

                                             - 12 -
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25      Page 13 of 24      PageID 416



sufficient connection with the alleged ongoing violation of federal law to satisfy Ex parte

Young if, for the purposes of Article III constitutional standing, the ongoing violation of

federal law alleged by the plaintiff is traceable to the individual conduct of the state official

defendants and redressable by an injunction directed to that conduct. See Jackson v. Wright,

82 F.4th 362, 369 (5th Cir. 2023) (observing that “[t]he traceability and Ex parte Young

[‘connection’ issue] involve similar questions,” and inferring from fact that, for purposes of

Article III constitutional standing, plaintiff’s injuries were traceable to state official

defendants’ conduct and redressable by requested injunctive relief that Ex parte Young’s

“connection” requirement was also satisfied); Tex. Democratic Party v. Abbott, 961 F.3d 389,

401 (5th Cir. 2020) (same); Mi Familia Vota v. Ogg, 105 F.4th 313, 329 n.11 (5th Cir. 2024)

(“The ‘significant[] overlap’ between standing and our Ex parte Young enforcement

connection guideposts primarily rests with the traceability and redressability components of

standing.”); Scott, 28 F.4th at 672 (identifying as “guideposts” for Ex parte Young’s

“connection” requirement that an official has “more than ‘the general duty to see that the

laws [or policies] of the state are implemented,” an official has “the particular duty to enforce

the statute [or policy] in question and a demonstrated willingness to exercise that duty,” and

enjoining the official’s enforcement has the capacity to “stop any ongoing constitutional

violation”). See also Washington v. McLane, 2025 WL 400030, at *2 (5th Cir. Feb. 5, 2025)

(per curiam) (analyzing standing and sovereign immunity together under similar

circumstances); Whole Woman’s Health v. Jackson, 595 U.S. 30, 52 n.1 (2021) (Thomas, J.,

concurring in part, dissenting in part) (“[P]etitioners also have not shown injury or

                                             - 13 -
Case 3:24-cv-00477-D       Document 50        Filed 04/25/25      Page 14 of 24      PageID 417



redressability for many of the same reasons they cannot satisfy Ex parte Young.”); Okpalobi

v. Foster, 244 F.3d 405, 439 (5th Cir. 2001) (en banc) (Benavides, J., concurring in part,

dissenting in part) (arguing that connection requirement has been “subsumed” by standing

doctrine).12

       The court has already concluded that the ongoing violation that Salamah asserts—a

Title II violation based on her allegedly discriminatory dismissal from UT Southwestern—is

traceable to the individual conduct of Drs. Mihalic, Klein, and Sachs, and redressable by an

injunction directed to that conduct. The court therefore concludes that Salamah has plausibly

pleaded a sufficient connection between the alleged conduct of Drs. Mihalic, Klein, and

Sachs and the alleged ongoing violation of Title II to satisfy Ex parte Young.


       12
          In addition to being well-supported by Fifth Circuit precedent, the court’s
formulation adequately performs the function of Ex parte Young’s “connection” requirement.
Ex parte Young’s requirement that state official defendants have “some connection” with the
alleged violation of federal law is a device for ferreting out suits that attempt an end run
around the states’ Eleventh Amendment sovereign immunity by “merely making [the official]
a party as a representative of the state, and thereby attempting to make the state a party.” Ex
parte Young, 209 U.S. at 157. Suits against state official defendants who lack a sufficient
connection to the alleged ongoing violation of federal law do not indulge the “legal fiction”
of Ex parte Young that a suit against an official for his or her individual conduct in violation
of federal law is not functionally a suit against the state itself because when a state official
acts in violation of federal law, she acts “without the authority of, and [] [] does not affect,
the state in its sovereign or governmental capacity,” and thus the official’s conduct “is simply
an illegal act upon the part of a state official,” for which she is “stripped of h[er] official or
representative character and is subjected in h[er] person to the consequences of h[er]
individual conduct.” Id. at 159; see also Okpalobi, 244 F.3d at 421 (“[T]he necessary fiction
of Young requires that the defendant state official be acting, threatening to act, or at least
have the ability to act.”). The court’s formulation—in allowing suits for prospective non-
monetary relief that redress an ongoing violation of federal law that is traceable to the
individual conduct of state official defendants by targeting those defendants’ ultra vires
conduct—ably filters out end-run suits that do not indulge Ex parte Young’s fiction.

                                              - 14 -
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25      Page 15 of 24     PageID 418



       Accordingly, the court sustains in part and rejects in part defendants’ jurisdictional

challenges. The court concludes that Salamah has plausibly pleaded that she has Article III

constitutional standing to bring her Title II claim against Drs. Mihalic, Klein, and Sachs to

the extent she seeks an injunction requiring defendants to permit her to continue her medical

education at UT Southwestern. And, applying Ex parte Young, the court concludes that

Salamah’s Title II claim for prospective relief against Drs. Mihalic, Klein, and Sachs in their

official capacities is not barred by Eleventh Amendment sovereign immunity. Defendants’

motion under Rule 12(b)(1) to dismiss for lack of subject matter jurisdiction is therefore

granted in part and denied in part.13

                                              III

       The court considers next whether Salamah has stated a claim on which relief can be

granted.

                                               A

       “In deciding a Rule 12(b)(6) motion to dismiss, the court evaluates the sufficiency of

[the plaintiff’s] complaint by ‘accept[ing] all well-pleaded facts as true, viewing them in the



       13
         The court therefore denies as moot defendants’ second motion to stay discovery,
which is based on the contention, which the court declines to accept, that the court lacks
subject matter jurisdiction over Salamah’s claims against the state official defendants. See
Chavez v. De La Paz, 156 Fed. Appx. 694, 696-97 (5th Cir. 2005) (per curiam) (“[B]ecause
we affirm the denial of qualified immunity defense at this stage, the district court’s ruling on
the Officer’s motion for a protective order to stay discovery is moot.”). The denial of the
requested stay is without prejudice to defendants’ filing another motion to stay discovery if
they elect to take an interlocutory appeal from the court’s denial of sovereign immunity and
the stay motion is timely.

                                             - 15 -
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25      Page 16 of 24      PageID 419



light most favorable to the plaintiff.’” Bramlett v. Med. Protective Co. of Fort Wayne, Ind.,

855 F.Supp.2d 615, 618 (N.D. Tex. 2012) (Fitzwater, C.J.) (second alteration in original)

(internal quotation marks omitted) (quoting In re Katrina Canal Breaches Litig., 495 F.3d

191, 205 (5th Cir. 2007)). To survive a Rule 12(b)(6) motion to dismiss, the plaintiff must

plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

“The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than

a sheer possibility that a defendant has acted unlawfully.” Id.; see also Twombly, 550 U.S.

at 555 (“Factual allegations must be enough to raise a right to relief above the speculative

level[.]”). “[W]here the well-pleaded facts do not permit the court to infer more than the

mere possibility of misconduct, the complaint has alleged—but it has not ‘shown’—‘that the

pleader is entitled to relief.’” Iqbal, 556 U.S. at 679 (alteration omitted) (quoting Rule

8(a)(2)). “Threadbare recitals of the elements of a cause of action, supported by mere

conclusory statements, do not suffice.” Id. at 678.

                                               B

       The court turns first to Salamah’s Title II claim against Drs. Mihalic, Klein, Sachs,

and Lee, in their official capacities.

       To state a claim under Title II of the ADA “in the context of a student excluded from

an educational program, a plaintiff must [plausibly allege] that: (1) she has a disability; (2)

                                             - 16 -
Case 3:24-cv-00477-D        Document 50      Filed 04/25/25     Page 17 of 24     PageID 420



she is otherwise qualified to participate in the defendant[s’] program; and (3) she was

excluded from the program on the basis of her disability.” Maples v. Univ. of Tex. Med.

Branch at Galveston, 901 F.Supp.2d 874, 879 (S.D. Tex. 2012) (cleaned up), aff’d, 524 Fed.

Appx. 93 (5th Cir. 2013); see also, e.g., Shaikh v. Tex. A&M Univ. Coll. of Med., 739 Fed.

Appx. 215, 219 (5th Cir. 2018) (per curiam); Delano-Pyle v. Victoria Cnty., Tex., 302 F.3d

567, 574 (5th Cir. 2002).

         Defendants maintain that Salamah has not stated a Title II claim on which relief can

be granted because she has not plausibly alleged that she is “otherwise qualified” to

participate in UT Southwestern’s Program. “To be ‘otherwise qualified’ for a postsecondary

education program, an individual with a disability must satisfy the program’s ‘essential’

requirements, with or without the aid of reasonable accommodations. A requirement is

‘essential’ if ‘the nature of the program would be fundamentally altered’ without it.” Shaikh,

739 Fed. Appx. at 220 (citations and footnote omitted). An accommodation is “reasonable”

if it does not require a “fundamental” or “substantial” modification of the institution’s

requirements. McGregor v. La. State Univ. Bd. of Supervisors, 3 F.3d 850, 858 (5th Cir.

1993).

         Salamah has plausibly alleged that she is “otherwise qualified” to participate in the

program. She alleges that: “she successfully completed the first two years of medical school.

. . . and received the highest mark available in every class she took,” 2d Am. Compl. ¶ 22;

“UT Southwestern dismissed [her] despite her academic excellence, her ability to meet all

program requirements with reasonable accommodation, the Step timing requirement not

                                             - 17 -
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25      Page 18 of 24      PageID 421



being essential to the program, and her medical clearance to return to studies,” id. ¶ 44; her

“dismissal occurred despite her demonstrated ability to complete medical school and excel

as a physician,” id. ¶ 48; “peers in her cohort who received lower marks, including multiple

failing grades, were allowed to progress,” id. ¶ 59; “[s]tudents, who were not hospitalized,

were allowed to progress to their third year even after failing multiple classes and failing Step

1,” id.; and she “affirmatively pleads that she meets every one of the essential requirements

set forth by UT Southwestern’s own documentation of the essential requirements for its

medical school,” id. ¶ 64. From these allegations, the court can reasonably infer “that, were

the examination requirement eliminated or modified, Salamah could satisfy the Program’s

essential requirements.” Salamah I, 2024 WL 4606802, at *6 (collecting supporting

authority).14

       Accordingly, the court declines to dismiss Salamah’s Title II claim.

                                               C

       The court now considers Salamah’s Rehabilitation Act claim against UT


       14
         Defendants contend in a conclusory footnote in their initial brief, and in their reply
brief that, Salamah is not “otherwise qualified” to participate in UT Southwestern’s program
because completion of the Step Examination in the time period allotted is an “essential
requirement” of the program. The court declines to address this contention because it was
raised for the first time in defendants’ reply. See Hee Sook Nam v. Tex Net, Inc., 2021 WL
535852, at *6, n.4 (N.D. Tex. Feb. 12, 2021) (Scholer, J.) (collecting cases in support of the
proposition that district court need not consider contentions that are not adequately briefed),
Jacobs v. Tapscott, 2006 WL 2728827, at *7 (N.D. Tex. Sept. 25, 2006) (Fitzwater, J.)
(citing Senior Unsecured Creditors’ Comm. of First Republic Bank Corp. v. FDIC, 749 F.
Supp. 758, 772 (N.D. Tex. 1990) (Fitzwater, J.)) (“[T]he court will not consider an argument
raised for the first time in a reply brief.”), aff’d, 277 Fed. Appx. 483 (5th Cir. 2008) (per
curiam).

                                             - 18 -
Case 3:24-cv-00477-D        Document 50        Filed 04/25/25       Page 19 of 24       PageID 422



Southwestern.15

       To state a failure-to-accommodate claim under the Rehabilitation Act, a plaintiff must

plausibly allege: “(1) [she] is a qualified individual with a disability; (2) the disability and

its consequential limitations were known by the covered institution; and (3) the covered

institution failed to make reasonable accommodations for such known limitations.” Jin Choi

v. Univ. of Tex. Health Sci. Ctr. at San Antonio, 633 Fed. Appx. 214, 215 (5th Cir. 2015) (per

curiam) (citing Neely v. PSEG Tex., Ltd. P’ship, 735 F.3d 242, 247 (5th Cir. 2013)).

Defendants maintain that Salamah has not plausibly pleaded that UT Southwestern owed her

a “duty to accommodate” under the second prong.16

       A covered institution’s duty to accommodate is triggered when it knows of the

plaintiff’s disability and consequential limitations. See Windham v. Harris Cnty., Tex., 875

F.3d 229, 237 (5th Cir. 2017). A covered institution is chargeable with knowledge of the

plaintiff’s disability and its consequential limitations if the plaintiff specifically identifies the

disability and resulting limitations and requests an accommodation in “direct and specific”



       15
        Defendants “do not argue that [UT Southwestern] is immune from claims under the
[Rehabilitation Act].” Ds. Br. (ECF No. 29) at 8.
       16
         To the extent defendants also maintain that Salamah has not plausibly pleaded the
first prong—that she is a “qualified individual with a disability”—because she is not
“otherwise qualified” to participate in UT Southwestern’s program, that contention fails for
the reasons discussed supra at § 3(B) and note 14. See Frame v. City of Arlington, 657 F.3d
215, 223-24 (5th Cir. 2011) (en banc) (explaining that Title II and Rehabilitation Act are
generally interpreted in pari materia); EEOC v. LHC Grp., Inc., 773 F.3d 688, 696 (5th Cir.
2014) (evaluating whether plaintiff was a “qualified individual with a disability” under rubric
for determining whether they were “otherwise qualified”).

                                               - 19 -
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25      Page 20 of 24     PageID 423



terms. Id. at 236.17 Defendants maintain that Salamah has not plausibly pleaded that she

requested an accommodation in “direct and specific terms” because she did not request an

accommodation with regard to the Step Examination requirement in particular, and she did

not follow UT Southwestern’s procedures for submitting accommodations requests. The

court disagrees.

       First, it was not necessary for Salamah to request an accommodation concerning the

Step Examination requirement in particular in order to request an accommodation in terms

sufficiently direct and specific to trigger UT Southwestern’s duty to accommodate her

disability regarding that requirement. Although the Rehabilitation Act does not demand

“clairvoyance” on the part of the covered entity, id. at 237, the “plaintiff need not request,

or even know, the particular reasonable accommodation [s]he ultimately requires,” id. at 237

n.11. Rather, she need only request an accommodation with sufficient specificity to initiate

the “flexible, interactive process” by which she and the covered institution may devise a

reasonable accommodation. Id. For example, a “police detainee with a broken leg” need not

“specifically request a gaze nystagmus test; it is enough for him to ask generally for an

alternative to the one-leg stand.” Id. Here, by comparison, Salamah’s general requests for

a medical leave of absence that would pause her studies while she recovered from her

transplant-related complications were sufficiently direct and specific to initiate the flexible,


       17
       “When a plaintiff fails to request an accommodation in this manner, [s]he can prevail
only by showing that ‘the disability, resulting limitation, and necessary reasonable
accommodation’ were ‘open, obvious, and apparent’ to the entity’s relevant agents.”
Windham, 875 F.3d at 237.

                                             - 20 -
Case 3:24-cv-00477-D       Document 50       Filed 04/25/25      Page 21 of 24      PageID 424



interactive process by which she and UT Southwestern might have devised a reasonable

accommodation pertinent to the Step Examination requirement.

       Second, it was unnecessary for Salamah to follow all of UT Southwestern’s

procedures for submitting accommodation requests to ask for an accommodation in

sufficiently direct and specific terms to trigger UT Southwestern’s duty to accommodate.

Defendants cite Pickett v. Texas Tech University Health Sciences Center, 37 F.4th 1013 (5th

Cir. 2022), for the proposition that a Rehabilitation Act plaintiff must follow all of a covered

institution’s procedures for submitting accommodations requests to charge that institution

with knowledge of the plaintiff’s disability and resulting limitations, and therefore trigger its

duty to accommodate. Pickett, however, stands for the much narrower proposition that a

Rehabilitation Act plaintiff does not plausibly allege that she requested an accommodation

in terms sufficiently direct and specific to trigger a covered institution’s duty to

accommodate when it appears on the face of the complaint that she failed to follow the

institution’s procedures for submitting accommodations requests, and, as a result, the

institution cannot reasonably be charged with knowledge of the plaintiff’s disability and its

consequential limitations. Id. at 1032-33. The Pickett panel concluded that a graduate

student plaintiff failed to state a failure-to-accommodate claim under the Rehabilitation Act

because, inter alia, it appeared on the face of her complaint that she had directed her

accommodations request to a professor, despite knowing that the institution’s procedures




                                             - 21 -
Case 3:24-cv-00477-D       Document 50      Filed 04/25/25      Page 22 of 24     PageID 425



required that such requests be submitted to its “ADA office.”18 Id. at 1033. The panel

reasoned that the institution could not reasonably be charged with knowledge of the

plaintiff’s disability and its consequential limitations under these circumstances, where there

could be no interactive process for devising reasonable accommodations because the

institution had not been notified to begin with. Id. Here, by contrast, defendants have not

identified anything on the face of the complaint that suggests that Salamah failed to follow

UT Southwestern’s procedures such that it could not reasonably be charged with knowledge

of her disability and its resulting limitations.19 To the contrary, Salamah has plausibly

alleged that UT Southwestern was aware that she was hospitalized for transplant-related

complications and, consequently, had requested a pause in her studies. Under these



       18
         The panel performed this analysis under step one of the United States v. Georgia,
546 U.S. 451 (2006), test for determining whether Congress had validly abrogated sovereign
immunity. See Pickett, 37 F.4th at 1032. Although the panel did not do so in the context of
a Rule 12(b)(6) motion to dismiss, the case is instructive nonetheless because the inquiries
overlap. See id. at 1032 (evaluating under Georgia’s step one whether the plaintiff had stated
a claim for relief); see also Block v. Tex. Bd. of L. Examiners, 952 F.3d 613, 618 n.12 (5th
Cir. 2020) (“[W]e have consistently determined whether the plaintiff stated a claim at
[Georgia’s first step].”).
       19
        Instead, defendants append to their motion to dismiss UT Southwestern’s Policy
Handbook, and maintain that Salamah has not plausibly alleged that she complied with the
requirement that students “submit medical documentation to support accommodation
requests.” Ds. Br. (ECF No. 29) at 11. Ordinarily, the court cannot consider materials
attached to a motion to dismiss unless they are central to the claim and referenced by the
complaint, see Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC, 594 F.3d 383, 387 (5th
Cir. 2010), which the Handbook is not. The court need not decide whether it can consider
the Handbook’s contents at the motion to dismiss stage, however, because supporting
documentation was not necessary to initiate the interactive process for devising a reasonable
accommodation.

                                            - 22 -
Case 3:24-cv-00477-D       Document 50      Filed 04/25/25      Page 23 of 24     PageID 426



circumstances, the court can reasonably infer that there could have been an interactive

process for devising a reasonable accommodation concerning the Step Examination

requirement.

       Accordingly, the court declines to dismiss Salamah’s Rehabilitation Act claim.

                                              D

       The court turns last to Salamah’s ADA retaliation claim against Drs. Mihalic and

Sachs, in their individual capacities. Defendants maintain that Salamah lacks statutory

standing.20 The court agrees.

       Under 42 U.S.C. § 12203(a), it is unlawful to “discriminate against any individual

because such individual has opposed any act or practice made unlawful by [the ADA.]”

Persons discriminated against because they opposed a practice made unlawful by Title II of

the ADA may seek recourse pursuant to the remedies and procedures available under Title

VI of the Civil Rights Act of 1964, 42 U.S.C. § 2000d, et seq. See 42 U.S.C. § 12203(c)

(cross-referencing 42 U.S.C. § 12133); 42 U.S.C. § 12133 (cross-referencing 29 U.S.C. §

794a); 29 U.S.C. § 794a(b) (cross-referencing Title VI for persons aggrieved by acts by

recipients of federal funds). But suits against individuals are not available under Title VI.

See Forte v. Dall. Cnty. Cmty. Coll. Dist., 2007 WL 9712189, at *5 (N.D. Tex. Mar. 6, 2007)



       20
         Statutory “standing” is not jurisdictional, but a “merits question” properly addressed
under Rule 12(b)(6). Simmons v. UBS Fin. Servs., Inc., 972 F.3d 664, 666 (5th Cir. 2020);
see also Maxim Crane Works, L.P. v. Zurich Am. Ins. Co., 11 F.4th 345, 350 (5th Cir. 2021)
(per curiam); Lexmark Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 128 n.4
(2014).

                                            - 23 -
Case 3:24-cv-00477-D      Document 50       Filed 04/25/25    Page 24 of 24     PageID 427



(Godbey, J.) (collecting cases).

       Accordingly, Salamah’s ADA retaliation claim against Drs. Mihalic and Sachs under

42 U.S.C. § 12203(b) is dismissed.

                                             IV

       Although the court is granting in part defendants’ motion to dismiss, it will grant

Salamah leave to replead, but only with regard to her Article III constitutional standing to

seek an injunction commanding defendants to clarify the reasons for her dismissal from UT

Southwestern. Salamah has requested leave to amend, and it is not apparent that this

pleading deficiency is entirely incurable. See In re Am. Airlines, Inc., Privacy Litig., 370

F.Supp.2d 552, 567-68 (N.D. Tex. 2005) (Fitzwater, J.); Great Plains Tr. Co. v. Morgan

Stanley Dean Witter & Co., 313 F.3d 305, 329 (5th Cir. 2002).

                                        *     *      *

       For the reasons explained, the court grants in part and denies in part defendants’

February 14, 2025 motion to dismiss, denies as moot defendants’ February 24, 2025 motion

to stay discovery, and grants Salamah leave to replead to the extent specified herein within

28 days of the date this memorandum opinion and order is filed.

       SO ORDERED.

       April 25, 2025.



                                            _________________________________
                                            SIDNEY A. FITZWATER
                                            SENIOR JUDGE

                                            - 24 -
